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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND

ERIC VON POOLE,                        *
              Petitioner               *
                                       *
      v.                               *       Civil No.: AMD-08-1918
                                       *
JOHN WOLFE, WARDEN, et. al.,           *
             Respondents               *
*   *   *    *    *     *              *       *    *      *      *     *      *

  RESPONSE TO ANSWER TO PETITION FOR WRIT OF HABEAS CORPUS
                 AND ORDER TO SHOW CAUSE

      Petitioner Eric Von Poole, through counsel Michael E. Lawlor and Andrew R.

Szekely, Lawlor & Englert, LLC, files this Response to Answer to Petition for W rit of

Habeas Corpus and Order to Show Cause.

                                I. INTRODUCTION

      Respondents, in their Answer to Petition for W rit of Habeas Corpus and Order

to Show Cause (Answer), argue that Petitioner should be denied relief on both

procedural and substantive grounds.        As detailed below, the position of the

Respondents is incorrect and Petitioner should be granted a writ of habeas corpus.

                                  II. ARGUMENT

      A.     The Petition for Writ of Habeas Corpus is not time-barred.

      Respondents argue that Petitioner’s Writ of Habeas Corpus is time-barred.

Petitioner’s W rit of Habeas Corpus is now, however, time-barred because

Petitioner’s Motion for New Trial was a collateral attack on the judgment in this case


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and tolled the statute of limitations for the filing of a Petition for W rit of Habeas

Corpus.

        W hile the direct appeal of the jury verdict was pending, Petitioner filed a pro

se Motion for New Trial with the Circuit Court for Baltimore City. Petitioner filed the

motion on April 2, 2003. It was denied without hearing by Judge Holland on July 16,

2003.    The Office of the Public Defender entered its appearance to represent

Petitioner in the appeal from that decision.

        On March 12, 2004, the Court of Special Appeals affirmed Judge Holland’s

denial of the Motion for New Trial in an unreported opinion, Poole v. State, No. 1083,

September Term, 2003 (filed March 12, 2004). On June 18, 2004, the Court of

Appeals of Maryland denied Petitioner’s Petition for W rit of Certiorari.

        The substance of Petitioner’s Motion for New Trial dealt with the same Brady

violation alleged in both the state post-conviction proceedings and in this Court. See

Respondents Exhibit 13. Respondents argue that regardless of the claims put

forward in a Motion for New Trial it is not a collateral proceeding. In support of their

position, Respondents rely on Walkowiak v. Haines, 272 F.3d 234 (4th Cir. 2001).

Their reliance on Walkowiak is misplaced.

        Walkowiak addressed the question of whether a Motion to Correct or Reduce

Sentence Pursuant to W est Virginia’s Rule of Criminal Procedure 35(b) tolled the

limitations period.    The United States Court of Appeals for the Fourth Circuit

Concluded that it did not because such a motion was “part and parcel of the original


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proceeding in which the defendant was sentenced and does not entail a legal

challenge to the original sentence.” Id. at 239 (emphasis added).

       That Petitioner’s Motion for New Trial was filed before the same court as he

was convicted in is not dispositive. Walkowiak held that “Often, even if not always,

collateral review is conducted at least by a different judge, if not by a different court

altogether, because it is the judgment of the original forum that is drawn into

question in the collateral proceeding.” Id. at 237. Petitioner’s Motion for a New Trial

attacked the legality of the original jury verdict, but did not draw the judgment of the

trial court into question because the claim was based on newly discovered evidence

that was unavailable to Petitioner at the time of trial. Further, not all collateral attacks

on convictions take place before new judges. Motions to Vacate Sentence in federal

court take place before the same judge who presided over the original proceeding

and are certainly collateral proceedings.

       It is clear that the Motion for New Trial is not part of the direct appeal process

of a case in Maryland state courts. See Md. Rule 8-202 (tolling the period for noting

an appeal when a Motion for New Trial is filed). If an attack on a judgment is not

part of the direct appeal, it can be nothing other than a collateral attack. Section

2244(d) of 28 U.S.C. allows tolling of the statute of limitations for “other collateral

review[s]”, not only applications for post-conviction review. As Petitioner’s appeal

of his denial of the Motion for New Trial was not settled until June 18, 2004, the time

for filing his Petition for W rit of Habeas Corpus did not begin to run until that date.


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         The time from June 18, 2004 until October 27, 2004, the date of the filing of

Petitioner’s Petition for Post-Conviction Review in state court was 131 days. Time

began to run again on December 7, 2007, at the time of Petitioner’s denial of W rit

of Certiorari to the Maryland Court of Appeals for his post-conviction case. From

that date until the filing of the Petition for W rit of Habeas Corpus was 228 days. The

total time lapsed was 359 days or six days short of the one-year limitation.

Petitioner’s Petition for W rit of Habeas Corpus is therefore timely.

         B.      Petitioner’s Petition for Writ of Habeas Corpus alleges a Brady
                 violation that constitutes grounds for relief.

         Respondents argue that Petitioner’s claim of a Brady violation fails because

there was no agreement and that even if there were an agreement is not material.

Respondents are incorrect as to both points.

                 1.   There was an agreement between Leon Wilkerson and the
                      State.

         Relying heavily on the reasoning of the courts that reviewed Petitioner’s case

as well as the decision in Adams v. State, 165 Md.App. 352 (2005), Respondents

argue that no agreement for leniency ever existed between Leon W ilkerson and the

State.        The record as developed in the State courts shows this to be an

unreasonable determination of the facts as well as an unreasonable application of

Federal Law. See 28 U.S.C. § 2254(d).

         The existence of an agreement between W ilkerson and the State is clear as

W ilkerson was never charged with any crime related to the killing of Brian Johnson.


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This is true despite W ilkerson’s admission to being part of the robbing of drug

dealers that ultimately led to the killing of Johnson. T.4 at 462. That testimony

placed W ilkerson in substantial jeopardy as to the murder yet no charges were filed

before or after Poole’s trial. The pattern was not limited to W ilkerson. Gregory

Veale and Antwone Lester, two cooperating co-defendants were never charged,

while two other defendants who did not cooperate, Charles Hamm and Carl

Harrison, were charged.

      An examination of the testimony of Cynthia Jones at Petitioner’s Post-

Conviction Hearing, reveals that the post-conviction court’s reliance on her testimony

as to any agreement between the State and W ilkerson was erroneous. The State

post-conviction court and appellate courts accepted, without any reservation, Ms.

Jones’s testimony was that she knew W ilkerson had pending drug charges; she did

not check whether he was represented by counsel; she met with him to discuss his

testimony at Petitioner’s trial but never mentioned his pending cases; and she never

spoke with W ilkerson’s attorney once she learned that he had counsel. See H.52-

57. The State courts also accepted, without reservation, that W ilkerson, a career

criminal with convictions reaching back prior to his eighteenth birthday, would come

forward and testify as a State’s witness in two different murder cases without seeking

any benefit for himself. Finally, the State courts accepted, again without reservation,

that W ilkerson would walk into the State’s Attorney’s Office admit to being at

minimum an aider and abetter to a robbery and perhaps an aider and abetter to


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murder for no benefit whatsoever. Accepting these facts at face value is clearly

unreasonable.

      Even if Ms. Jones was being truthful, so long as any one member of the

State’s Attorney’s Office knew of an agreement, it must be disclosed. See Giglio v.

United States, 405 U.S. 150, 154 (1972). Melissa Copeland, the prosecutor in

W ilkerson’s drug case, acknowledgment of the agreement was sufficient to require

the State to disclose such information to defense counsel prior to trial.     It is clear

from the record that W ilkerson’s guilty plea took place prior to Petitioner’s trial and

that on July 11, 2002, Petitioner took the stand and testified against Petitioner. Four

days later, on July 15, 2002, W ilkerson was sentenced after the trial judge was

informed of his performance at trial by Ms. Copeland.

             2.     Information regarding Wilkerson’s cooperation agreement
                    was material to Petitioner’s defense at trial.

      Respondents argue that even if there was an agreement between W ilkerson

and the State that was not disclosed, the failure to disclose was not material due to

the corroboration of W ilkerson’s testimony with that of Veale and Lester. Lester’s

testimony is, however, itself suspect given two letters he wrote to the lead detective

on the case asking for assistance. See discussion below.

      Materiality does require certainty as to a different outcome, rather the

touchstone of for materiality is whether “the favorable evidence could reasonably be

taken to put the whole case in such a different light as to undermine confidence in



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the verdict.” Kyles v. Whitely, 514 U.S. 419 (1995). Had the jury learned that

W ilkerson was never charged despite his admitted role in the offense; that he had

a pending sentencing that was purposefully set to occur after Petitioner’s trial; and

had they known of the potential sentence Wilkerson faced, there is a reasonable

probability that a jury would have viewed W ilkerson’s testimony with great

skepticism.1

      Further, disclosure of the decision to not pursue charges against W ilkerson

would have allowed trial counsel to cross examine both Veale and Lester on the

same point. Arguing to the jury that all three men were not being charged in the

crime, despite their open admission to having been involved would have severely

undermined all of their testimony. Further, the corroboration Respondents now rely

upon would have been called into doubt as to whether the testimony reflected the

events leading to the death of Brian Johnson or reflected the extremely lenient

decision on the part of the Office of the State’s Attorney to not charge any of the

three men with anything related to the robbery, kidnaping, and murder of Brian

Johnson.

      Further, evidence of the agreement was material as to the credibility of

Detective Nevins. She testified that none of her witnesses asked for anything in

exchange for their testimony, in direct contradiction to the testimony of W ilkerson at



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      The jury would have been instructed, in fact, to view his testimony with caution.
See MJPI-CR 3:13.

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the motion for new trial in the Adams case. Such a direct attack on the credibility of

Detective Nevins would certainly have shaded the jury’s view of her overall

testimony, especially with regard to the testimony of Lester.

       C.     Trial counsel’s ineffectiveness in failing to cross examine Antwone
              Lester with letters written to Detective Nevins constitutes grounds
              for relief.

       Respondents argue that because the letters written by Lester to Detective

Nivens do not mention Petitioner by name, they would have been of limited use.

Even if this Court were to agree that because Petitioner’s name is not in the letters

means that the assistance Lester sought was not tied to Petitioner’s case, the letters

were still of value in impeaching Lester. At the very least the letters could have used

to demonstrate Lester’s desire to regain his freedom, his willingness to work with the

State, and that even without an express agreement with the State he had incentive

to testify in the State’s favor.

       In her closing argument to the jury the prosecutor pointed out that no

agreements were made for Lester’s testimony and that he was testifying solely

because he was repulsed by the needless shooting of the victim. (T.6 at 717). Had

trial counsel utilized these letters to contradict Detective Nevins’s testimony that

Lester never requested any benefits, there can be no question that Lester’s

testimony would have been significantly impeached.

                                   III. CONCLUSION

       For the foregoing reasons and those outlined in Petitioner’s previously filed

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Memorandum of Facts and Law in Support of Petition for W rit of Habeas Corpus a

writ of habeas corpus is warranted.




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                                   Respectfully submitted,


                                     /s
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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on April 24, 2009, a copy of the foregoing Response
to Answer to Petition for W rit of Habeas Corpus and Order to Show Cause was
served via electronic case filing on Edward Kelley, Office of the Attorney General,
Criminal Appeals Division, 200 Saint Paul Place, Baltimore, Maryland 21202.


                                             /s
                                             Andrew R. Szekely




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